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(COB Form nopd.jsp #152)(10/11)
                                  UNITED STATES BANKRUPTCY COURT
                                              District of Colorado

Robert Edward Hammett and Suzanne Case Number.: 17−15507−KHT
Andrea Hammett                    Chapter: 7
Debtor(s)
Debtor SSN/TaxId Nos.:
xxx−xx−2842
Joint Debtor SSN/Tax Id Nos.:
xxx−xx−2514




Debtor(s)
aka(s), if any will be listed on the following page

                                     NOTICE OF POSSIBLE DIVIDENDS

It appearing to the Trustee that a dividend to creditors is possible;

Creditors are hereby notified that if they desire to participate in a distribution of assets, they must file a
claim with the court no later than 12/19/17.

Pursuant to Fed.R.B.P. 3002(c)(1) and (5) a proof of claim shall be filed BY A GOVERNMENTAL
UNIT not later than 180 days after the date of the order for relief .

All claimants who are seeking an administrative claim must obtain a Court Order pursuant to the
Bankruptcy Code.



Proof of Claim Forms should be filed with:
                             Clerk of the Bankruptcy Court
                             U.S. Custom House
                             721 19th Street
                             Denver, Colorado 80202−2508

A Proof of Claim form ("Official Form B 410") can be obtained at the United States Courts Website:
http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx or at any bankruptcy clerk's
office and may be used for filing a claim.

Dated: 9/15/17                                          s/ Jeffrey A. Weinman
                                                        730 17th St.
                                                        Ste. 240
                                                        Denver, CO 80202
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Aliases Page
Debtor aka(s):
fods Fire Defense Inc., mem R&S Management, LLC

Joint Debtor aka(s):
mem Western Exposure Photography LLC, mem Fire Defense Systems LLC
